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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               JCPenney Puerto Rico, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          6501                Legacy Drive
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box

                                           Plano                        Texas       75024
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Collin County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 http://www.jcpenney.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            JCPenney Puerto Rico, Inc.                                       Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          4521 (Department Stores)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

      A debtor who is a “small            ☒ Chapter 11. Check all that apply:
      business debtor” must
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub-box.                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      A debtor as defined in                                  affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      § 1182(1) who elects to                                 balance sheet, statement of operations, cash-flow statement, and federal income tax
      proceed under subchapter                                return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      V of chapter 11 (whether or                             1116(1)(B).
      not the debtor is a “small
                                                            ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      business debtor”) must
                                                              liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      check the second sub-box.                               and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                              selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                              statement, and federal income tax return or if any of these documents do not exist,
                                                              follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No
   filed by or against the debtor     ☐ Yes.     District                           When                       Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a              District                           When                       Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases          ☐ No
    pending or being filed by a       ☒ Yes.                                                                   Relationship     Affiliate
                                                 Debtor      See Rider 1
    business partner or an

     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                        Case 20-20195 Document 1 Filed in TXSB on 05/15/20 Page 3 of 40
    Debtor           JCPenney Puerto Rico, Inc.                                           Case number (if known)
              Name


       affiliate of the debtor?                          District     Southern District of Texas
                                                                                                                        When            05/15/2020
       List all cases. If more than 1,
                                                                                                                                        MM / DD / YYYY
       attach a separate list.                         Case number, if known _______________________

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                           Number         Street



                                                                                           City                                 State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                         ☐     1,000-5,000                      ☐    25,001-50,000
        creditors1                        ☐     50-99                        ☐     5,001-10,000                     ☐    50,001-100,000
                                          ☐     100-199                      ☐     10,001-25,000                    ☒    More than 100,000
                                          ☐     200-999



    15. Estimated assets                  ☐     $0-$50,000                   ☐     $1,000,001-$10 million            ☐ $500,000,001-$1 billion
                                          ☐     $50,001-$100,000             ☐     $10,000,001-$50 million           ☒ $1,000,000,001-$10 billion


1      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                    Case 20-20195 Document 1 Filed in TXSB on 05/15/20 Page 4 of 40
Debtor           JCPenney Puerto Rico, Inc.                                            Case number (if known)
          Name


                                     ☐       $100,001-$500,000          ☐     $50,000,001-$100 million              ☐ $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☐     $100,000,001-$500 million             ☐ More than $50 billion



16. Estimated liabilities            ☐       $0-$50,000                  ☐    $1,000,001-$10 million                ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000            ☐    $10,000,001-$50 million               ☒    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000           ☐    $50,000,001-$100 million              ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million         ☐    $100,000,001-$500 million             ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         05/15/2020
                                                              MM/ DD / YYYY


                                              /s/ Bill Wafford                                                  Bill Wafford
                                              Signature of authorized representative of debtor               Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ Matthew D. Cavenaugh                                      Date        05/15/2020
                                              Signature of attorney for debtor                                          MM/DD/YYYY



                                              Matthew D. Cavenaugh
                                              Printed name
                                              Jackson Walker L.L.P.
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                 Street
                                              Houston                                                               Texas             77010
                                              City                                                                  State               ZIP Code
                                              (713) 752-4200                                                        mcavenaugh@jw.com
                                              Contact phone                                                            Email address
                                              24062656                                                Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case:
                                                                 ,
 United States Bankruptcy Court for the:
                      Southern District of Texas
                                     (State)                                              ☐ Check if this is an
 Case number (if                                                                              amended filing
 known):                                          Chapter   11



                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of J. C. Penney Company, Inc.



   J. C. Penney Company, Inc.
   Future Source LLC
   J. C. Penney Corporation, Inc.
   J. C. Penney Direct Marketing Services LLC
   J. C. Penney Export Merchandising Corporation
   J. C. Penney International, Inc.
   J. C. Penney Properties, LLC
   J. C. Penney Purchasing Corporation
   JCP Construction Services, Inc.
   JCP Media, Inc.
   JCP New Jersey, LLC
   JCP Procurement, Inc.
   JCP Real Estate Holdings, LLC
   JCP Realty, LLC
   JCP Telecom Systems, Inc.
   JCPenney Puerto Rico, Inc.
   JCPenney Services, LLC
   jcpSSC, Inc.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                    CORPUS CHRISTI DIVISION

                                                           )
    In re:                                                 )   Chapter 11
                                                           )
    JCPENNEY PUERTO RICO, INC.,                            )   Case No. 20-___________(___)
                                                           )
                             Debtor.                       )
                                                           )

                                   LIST OF EQUITY SECURITY HOLDERS1

               Debtor                  Equity Holders          Address of Equity Holder       Percentage of
                                                                                               Equity Held
                                        J. C. Penney              6501 Legacy Drive
     JCPenney Puerto Rico, Inc.                                                                    100%
                                       Corporation, Inc.           Plano, TX 75024




1      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as
       disclosed in Schedule 13G filed prior to February 15, 2020 with the Securities and Exchange
       Commission.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 JCPENNEY PUERTO RICO, INC.,                          )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                 CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

            J. C. Penney Corporation, Inc.                                       100%
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    Fill in this information to identify the case:

    Debtor name          J. C. Penney Company, Inc., et al.

    United States Bankruptcy Court for                                                                                                         q
    the:                                                               Southern District of Texas                                                  Check if this is an
    Case number (If                                                                                                                                amended filing
                                                                                             (State)
    known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                         12/15

        A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
        the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
        include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
        among the holders of the 50 largest unsecured claims.

                                                                                                                                               Amount of claim
                                                                                              Nature of
                                                                                               claim                               If the claim is fully unsecured, fill in only
                                                                                                                                  unsecured claim amount. If claim is partially
                                                                                                                 Indicate if         secured, fill in total claim amount and
                                                                                            (for example,
     Name of creditor and complete                                                                                 claim is       deduction for value of collateral or setoff to
                                                 Name, telephone number and                  trade debts,
     mailing address, including zip                                                                              contingent,                calculate unsecured claim.
                                                email address of creditor contact            bank loans,
                 code                                                                                           unliquidated,
                                                                                             professional                                       1Deductio
                                                                                                                 or disputed       Total
                                                                                            services, and                                          n for
                                                                                             government                           claim, if                        Unsecured
                                                                                                                                                 value of
                                                                                                                                  partially                         Claim
                                                                                              contracts)                                        collateral
                                                                                                                                  secured                  1
                                                                                                                                                or setoff
    Wilmington Trust
    Global Capital Markets, 50 South            Hallie E. Field
    Sixth Street, Suite 1290,                   Tel: (612) 217-5644
1   Attention Of J. C. Penney                   Fax: 612.217.5651
                                                                                            Senior Notes                                                      $500,000,000.00
    Collateral Agency Administrator             Email: hfield@wilmingtontrust.com
    Minneapolis, MN 55402
    Wilmington Trust
    Global Capital Markets, 50 South            Hallie E. Field
    Sixth Street, Suite 1290,                   Tel: (612) 217-5644
2   Attention Of J. C. Penney                   Fax: 612.217.5651
                                                                                            Senior Notes                                                      $388,262,000.00
    Collateral Agency Administrator             Email: hfield@wilmingtontrust.com
    Minneapolis, MN 55402
    Wilmington Trust
    Global Capital Markets, 50 South            Hallie E. Field
    Sixth Street, Suite 1290,                   Tel: (612) 217-5644
3   Attention Of J. C. Penney                   Fax: 612.217.5651
                                                                                            Senior Notes                                                      $312,458,000.00
    Collateral Agency Administrator             Email: hfield@wilmingtontrust.com
    Minneapolis, MN 55402
    Wilmington Trust
    Global Capital Markets, 50 South            Hallie E. Field
    Sixth Street, Suite 1290,                   Tel: (612) 217-5644
4   Attention Of J. C. Penney                   Fax: 612.217.5651
                                                                                            Senior Notes                                                      $105,256,000.00
    Collateral Agency Administrator             Email: hfield@wilmingtontrust.com
    Minneapolis, MN 55402
    Nike Inc.                                   Hilary Krane
5   One Bowerman Drive                          Tel: 503-671-6453                               Trade                                                          $32,067,049.43
    Beaverton, OR 97005                         Email: media.relations@nike.com




           1
               The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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                                                                                                                         Amount of claim
                                                                                Nature of
                                                                                 claim                       If the claim is fully unsecured, fill in only
                                                                                                            unsecured claim amount. If claim is partially
                                                                                             Indicate if       secured, fill in total claim amount and
                                                                            (for example,
     Name of creditor and complete                                                             claim is     deduction for value of collateral or setoff to
                                         Name, telephone number and          trade debts,
     mailing address, including zip                                                          contingent,              calculate unsecured claim.
                                        email address of creditor contact    bank loans,
                 code                                                                       unliquidated,
                                                                             professional                                 1Deductio
                                                                                             or disputed     Total
                                                                            services, and                                    n for
                                                                             government                     claim, if                        Unsecured
                                                                                                                           value of
                                                                                                            partially                         Claim
                                                                              contracts)                                  collateral
                                                                                                            secured                  1
                                                                                                                          or setoff
                                        Peter J. Aresty
     Alfred Dunner Inc.                 Tel: (212) 944-6660
6    1333 Broadway, 11th Floor          Email:                                   Trade                                                   $14,211,811.48
     New York, NY 10018                 customerservice@alfreddunner.ne
                                        t
                                        Joel Feldman
     Byer California                    Tel: 415-487-2672
7    66 Potrero Avenue                  Fax: 415-626-7865                        Trade                                                   $12,607,412.28
     San Francisco, CA 94103            Email:
                                        jfeldman@byer.com
                                        Dorian E. Daley
     Oracle Credit Corporation
                                        Tel: 650-506-7000
8    500 Oracle Pkwy, Suite 1
                                        Fax: 650-506-7114
                                                                                 Trade                                                   $11,382,956.18
     Redwood City, CA 94065
                                        Email: dorian.daley@oracle.com
     Wilmington Trust
     Global Capital Markets, 50 South   Hallie E. Field
     Sixth Street, Suite 1290,          Tel: (612) 217-5644
9    Attention Of J. C. Penney          Fax: 612.217.5651
                                                                            Senior Notes                                                  $9,796,000.00
     Collateral Agency Administrator    Email: hfield@wilmingtontrust.com
     Minneapolis, MN 55402
                                        Daniel Zar
     Siouni & Zar Corp/Kelly Grace      Tel: 212-704-9603
10   49 W 37th, Floor 10                Email:                                   Trade                                                    $8,465,197.78
     New York, NY 10018                 kemaltonguc@dannyandnicole.co
                                        m
     G.G. Int'L Mfg. Co., Ltd.          David Kim
11   192 Jangchungdan-Ro Jung-Gu        Tel: 82-02-338-4706                      Trade                                                    $7,744,899.49
     Seoul, Korea 100391                Fax: 82-02-2071-4894
                                        Zion Armstrong
     Adidas Distributing
                                        Tel: 800-982-9337
     Adidas Village
12   5055 N. Greeley Avenue
                                        Fax: 971-234-2450                        Trade                                                    $7,080,729.05
                                        Email:
     Portland, OR 97217
                                        investor.relations@adidas.com
     Eclat Textile Co., Ltd.            Roger, J. C. Lo
     No 28 Wu Chyan Rd                  Tel: 886-2-2299-6000
13   Wu Ku Ind Park                     Fax: 886-2-2299-1366
                                                                                 Trade                                                    $6,980,752.35
     New Taipe City, Taiwan 248         Email: rogerlo@eclat.com.tw
     Poong In Trading Co., Ltd.
     18 F-20F Ace High Tech City
                                        Paul Park
     B/D2 Dong
14   775, GyeongIn-ro,
                                        Tel: 82-2-549-8313                       Trade                                                    $6,800,058.75
                                        Fax: 82-25-549-8310
     Yeongdeungpo-Gu
     Seoul, Korea
                                        Gautam Sitesh
     Tata Consultancy Services Ltd.
                                        Tel: 91-22-6778-9595
15   3010 LBJ Freeway, Suite 715
                                        Fax: 972-484-0450
                                                                                 Trade                                                    $6,663,236.78
     Dallas, TX 75234
                                        Email: investor.relations@tcs.com
     Crystalclear Wealth Ltd.           Tony Wu
     No 69, Xibei Rd, Banqiao Dist.     Tel: 886-2-2686-9399
16   Taiwan R.O.C.                      Fax: 886-2-2686-7811
                                                                                 Trade                                                    $6,264,328.59
     New Taipei City, Taiwan 22072      Email: info@ccwealth.com.tw
     Haggar Clothing Co                 Jay Patel
17   1507 LBJ Freeway, Suite 100        Tel: (214) 956-4639                      Trade                                                    $6,091,441.18
     Farmers Branch, TX 75234           Email: jay.patel@haggar.com




                                                                            2
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                                                                                                                       Amount of claim
                                                                              Nature of
                                                                               claim                       If the claim is fully unsecured, fill in only
                                                                                                          unsecured claim amount. If claim is partially
                                                                                           Indicate if       secured, fill in total claim amount and
                                                                          (for example,
     Name of creditor and complete                                                           claim is     deduction for value of collateral or setoff to
                                       Name, telephone number and          trade debts,
     mailing address, including zip                                                        contingent,              calculate unsecured claim.
                                      email address of creditor contact    bank loans,
                 code                                                                     unliquidated,
                                                                           professional                                 1Deductio
                                                                                           or disputed     Total
                                                                          services, and                                    n for
                                                                           government                     claim, if                        Unsecured
                                                                                                                         value of
                                                                                                          partially                         Claim
                                                                            contracts)                                  collateral
                                                                                                          secured                  1
                                                                                                                        or setoff
     The Lee Company, a VF Corp       Scott Baxter
18   400 N. Elm St.                   Tel: 336-424-6000                        Trade                                                    $6,055,245.79
     Greensboro, NC 27401             Email: IR@KontoorBrands.com
                                      Stefan Larsson
     Van Heusen Sportswear
                                      Tel: 212-381-3500
19   200 Madison Avenue
                                      Fax: 212-381-3950
                                                                               Trade                                                    $5,749,916.64
     New York, NY 10016-3903
                                      Email: communications@pvh.com
     Nobland International
     Nobland B/D 49, Ogeumro          Keith Kim
20   46GIL, Songpagu                  Tel: 82-2-405-5700
                                                                               Trade                                                    $5,247,802.03
     Seoul, Korea 05785
     Arya LLC DBA Perceptions         Haresh Tharani
21   850 Paterson Plank Rd            Tel: 201-243-2500                        Trade                                                    $5,046,567.13
     Secaucus, NJ 07094               Email: info@tharancogroup.com
                                      Torres Mitchell
     Supreme International Corp
                                      Tel: 305-592-2830
22   3000 NW 107th Ave
                                      Fax: 305-594-2307
                                                                               Trade                                                    $5,016,739.76
     Miami, FL 33172
                                      Email: info@pery.com
     Breaking Waves Inc               Billy Zuckerman
23   1441 Broadway                    Tel: 646-569-6001                        Trade                                                    $4,988,939.87
     New York, NY 10018               Email: info@breakingwaves.com
     Laws Textile Industrial Ltd
     Room 3301-05 33/F                Bosco Law
     Laws Commercial Plaza            Tel: 852-2371-11888
24   788 Cheung Sha Wan Rd, Lai       Fax: 852-2786-2406
                                                                               Trade                                                    $4,806,666.39
     Chi Kok                          Email: info@lawsgroup.com
     Hong Kong, Hong Kong
     Kasper Group LLC                 Gregg I. Marks
25   1412 Broadway                    Tel: 212-354-4311                        Trade                                                    $4,751,298.39
     New York, NY 10018               Email: inquiries@kasper.com
     Bee Darlin                       Steve Namm
26   1875 E 22nd St                   Tel: 213-749-2116                        Trade                                                    $4,677,845.89
     Los Angeles, CA 90058            Email: steve@beedarlin.com
     Izod                             Stefan Larsson
27   200 Madison Avenue               Tel: 866-378-9545                        Trade                                                    $4,628,066.26
     New York, NY 10016-3903          Email: communications@pvh.com
     The William Carter Co            Michael Casey
28   3438 Peachtree Rd Ste 1800       Tel: 678-791-1000                        Trade                                                    $4,616,591.78
     Atlanta, GA 30326-1554           Email: contactus@carters.com
     D3 LLC
                                      Louis Dupere
29   75 Marcus Dr
                                      Tel: 631-454-6600
                                                                               Trade                                                    $4,444,052.91
     Melville, NY 11747
     Vanity Fair Brands LP            Steve Rendle
30   8505 E. Orchard Road             Tel: (251) 743-6625                      Trade                                                    $4,412,713.92
     Greenwood Village, CO 80111      Email: ir@vfc.com
     Jordache Enterprises Inc         Charles Flores
31   1400 Broadway                    Tel: 212-944-1330                        Trade                                                    $4,211,182.68
     New York, NY 10018               Email: cflores@jordache.com
     U-Knits, Inc.                    Jae-Young Yoo
     R#1504 Mario Tower               Tel: 02.2059.2400
32   28 Digital-Ro 30-Gil Guro-Gu     Fax: 02.863.6143
                                                                               Trade                                                    $4,101,282.81
     Seoul, Korea                     Email: uknits@u-knits.com
     Epic Garments DWC -LLC           Sunil Daulatram Daryanani
     Dubai World Central Bldg E       Tel: 971-4406-9900
33   Office No E-4-O413               Fax: 852-2345 8558
                                                                               Trade                                                    $4,097,288.90
     Dubai, United Arab Emirates      Email: info@epichk.com




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                                                                                                                           Amount of claim
                                                                                  Nature of
                                                                                   claim                       If the claim is fully unsecured, fill in only
                                                                                                              unsecured claim amount. If claim is partially
                                                                                               Indicate if       secured, fill in total claim amount and
                                                                              (for example,
     Name of creditor and complete                                                               claim is     deduction for value of collateral or setoff to
                                           Name, telephone number and          trade debts,
     mailing address, including zip                                                            contingent,              calculate unsecured claim.
                                          email address of creditor contact    bank loans,
                 code                                                                         unliquidated,
                                                                               professional                                 1Deductio
                                                                                               or disputed     Total
                                                                              services, and                                    n for
                                                                               government                     claim, if                        Unsecured
                                                                                                                             value of
                                                                                                              partially                         Claim
                                                                                contracts)                                  collateral
                                                                                                              secured                  1
                                                                                                                            or setoff
                                          Angela Smith
     Briggs New York Corp
                                          Tel: 626-934-4122
34   13071 E Temple Ave
                                          Email:
                                                                                   Trade                                                    $4,053,144.50
     City of Industry, CA 91746
                                          angela.smith@kellwood.com
     Tharanco Dress Group LLC             Michael Setola
35   134 W. 37th Street                   Tel: 201-243-2500                        Trade                                                    $3,966,379.14
     New York, NY 10018                   Email: info@tharancogroup.com
                                          Nicholas Licavoli
     Footwear Unlimited Inc
                                          Tel: (636) 680-2655
36   99 Larkin Williams Ind Ct
                                          Email:
                                                                                   Trade                                                    $3,949,943.70
     Fenton, MO 63026
                                          nickl@footwearunlimited.com
                                          Angela Smith
     Fritzi California
                                          Tel: (314) 851-8176
37   13071 E Temple Ave
                                          Email:
                                                                                   Trade                                                    $3,905,189.67
     City of Industry, CA 91746
                                          angela.smith@kellwood.com
                                          Ed Yakubovich
     Sun Diamond DBA Sun Source           Tel: 212-714-2702
38   255 West 36th 7th Floor              Email:                                   Trade                                                    $3,768,246.69
     New York, NY 10018                   eyakubovich@sunsoucrejewelry.c
                                          om
                                          Mark Levy
     Revise Clothing Inc
                                          Tel: 201-727-9339
39   20 Henry St
                                          Email:
                                                                                   Trade                                                    $3,743,947.33
     Teterboro, NJ 07608-1102
                                          marketing@vanillastarjeans.com
     Gulf Textile Sourcing Fze
     Saif Desk Q1 06 048B
     Sharjah Airport International Free
40   Zone
                                          Tel: 971-55-295-2792                     Trade                                                    $3,715,064.99
                                          Email: marketing@gulftex.ae
     Sharjah, United Arab Emirates
     61128
     OMD USA LLC                          Paul Bocchino
41   225 N Michigan Ave                   Tel: 212 5907277                         Trade                                                    $3,642,567.51
     Chicago, IL 60601                    Email: paul.bocchino@omd.com
     In Mocean Group LLC                  Jerry Harary
42   463 Seventh Ave., 21th Floor         Tel: 212-944-0317                        Trade                                                    $3,491,743.16
     New York, NY 10118                   Fax: 212-944-7667
     Elkay Overseas India
                                          Narendera Agarwal
     5/66, K.C. House Padam Singh
43   Road
                                          Tel: 91-25-789-729                       Trade                                                    $3,475,942.14
                                          Email: info@elkayoverseas.com
     Delhi, India 110 005
     Tal Global Alliances Limited         Roger Lee
44   3/F Tal Bldg 49 Austin Rd            Tel: 852-2738-6211                       Trade                                                    $3,470,072.53
     Kowloon, Hong Kong                   Email: info@talapparel.com
     Mainstream Swimsuits Inc.            Dawn Finlayson
45   610 Uhler Road                       Tel: (484) 373-3600                      Trade                                                    $3,465,999.39
     Easton, PA 18040                     Email: dawn@swimusa.com
                                          Cindy Elenes
     Manhattan Beachwear
                                          Tel: 714-892-7354
46   10700 Valley View Street
                                          Fax: 714-799-5381
                                                                                   Trade                                                    $3,419,820.13
     Cypress, CA 90630
                                          Email: celenes@mbwswim.com
                                          Dave Meleski
     Richline Group Inc.                  Tel: 800-966-8800
47   1385 Broadway                        Fax: 914-699-2335                        Trade                                                    $3,403,409.23
     New York, NY 10018                   Email:
                                          contactus@richlinegroup.com




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                                                                                                                        Amount of claim
                                                                               Nature of
                                                                                claim                       If the claim is fully unsecured, fill in only
                                                                                                           unsecured claim amount. If claim is partially
                                                                                            Indicate if       secured, fill in total claim amount and
                                                                           (for example,
     Name of creditor and complete                                                            claim is     deduction for value of collateral or setoff to
                                        Name, telephone number and          trade debts,
     mailing address, including zip                                                         contingent,              calculate unsecured claim.
                                       email address of creditor contact    bank loans,
                 code                                                                      unliquidated,
                                                                            professional                                 1Deductio
                                                                                            or disputed     Total
                                                                           services, and                                    n for
                                                                            government                     claim, if                        Unsecured
                                                                                                                          value of
                                                                                                           partially                         Claim
                                                                             contracts)                                  collateral
                                                                                                           secured                  1
                                                                                                                         or setoff
     The Van Heusen Company            Stefan Larsson
48   200 Madison Avenue                Tel: 212-381-3500                        Trade                                                    $3,343,471.19
     New York, NY 10016                Email: communications@pvh.com
     Studio Ray LLC                    Gladys Mayers
49   512 Fashion Ave., 19th Floor      Tel: 212-354-8990                        Trade                                                    $3,277,154.35
     New York, NY 10018                Email: info@studioray.net
                                       Robyn Noble
     New Balance Athletic Shoe, Inc.
                                       Tel: (617)-746-2420
50   20 Guest St.
                                       Email:
                                                                                Trade                                                    $3,165,729.98
     Boston, MA 02135-2088
                                       robyn.noble@newbalance.com




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                    OMNIBUS UNANIMOUS WRITTEN CONSENT OF
                      BOARDS OF MANAGERS AND DIRECTORS
                              IN LIEU OF MEETING

                                           May 15, 2020

           The undersigned, being all of the members of the boards of directors or boards of managers
(each, a “Governing Body”), as applicable, of each of the entities listed on Annex I attached hereto
(each, a “Company” and, collectively, the “Companies”), do hereby consent to, adopt and approve
the following resolutions and each and every action effected hereby:

1. Restructuring Support Agreement

        WHEREAS, each Governing Body has reviewed and considered (i) the presentations by each
Company’s authorized officers and representatives (“Management”) on May 15, 2020, and the
recommendation by each such Company’s Management that such Company enter into that certain
restructuring support agreement (in such form as authorized and executed by any Authorized
Signatory, with such authorization as evidenced by the execution and delivery by any such Authorized
Signatory, the “Restructuring Support Agreement”), (ii) the presentations by the Advisors regarding
the liabilities and liquidity of the Companies, the strategic alternatives available to the Companies,
and the impact of the foregoing on each Company’s business, (iii) the information and advice
previously provided to and reviewed by each Governing Body, and (iv) the related matters reported
on at this meeting and other previous meetings of each Governing Body;

        WHEREAS, each Governing Body has had the opportunity to consult with Management
and financial and legal advisors (the “Advisors”) and fully consider each of the strategic
alternatives available to each such Company;

       WHEREAS, Management is continuing to negotiate the Restructuring Support Agreement
with each Company’s stakeholders, with the terms of such Restructuring Support Agreement, to
be substantially consistent with the terms set forth in the presentations by Management; and

        WHEREAS, the Restructuring Support Agreement will provide that it can be terminated
if such Governing Body determines, after consulting with counsel, that proceeding with any of the
restructuring contemplated by the Restructuring Support Agreement would be inconsistent with
applicable law or such Governing Body’s fiduciary duties.

       NOW, THEREFORE, BE IT RESOLVED, that it is desirable and in the best interests
of each Company, its stakeholders, its creditors, and other parties in interest, to enter into the
Restructuring Support Agreement, and that each Company’s performance of its obligations under
the Restructuring Support Agreement, and all other exhibits, schedules, attachments, and ancillary
documents or agreements related thereto, hereby is, in all respects, authorized and approved;

       FURTHER RESOLVED, that each Company’s respective Management is hereby
authorized and directed to take all actions necessary or advisable to negotiate and finalize the
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Restructuring Support Agreement and, subject to receiving sufficient consents from the
Consenting Stakeholders (as defined in the Restructuring Support Agreement), enter into and
perform the Restructuring Support Agreement, and the restructuring contemplated thereunder; and

        FURTHER RESOLVED, that any of the Management and their respective designees or
delegates of each Company (such persons for each applicable Company, the “Authorized
Signatories”) shall be, and each of them individually hereby is, authorized for and on behalf of
each applicable Company to take all actions (including, without limitation, to negotiate and
execute any agreements, documents, certificates, supplemental agreements and instruments)
necessary or advisable to finalize the Restructuring Support Agreement and, subject to receiving
sufficient consents from the Consenting Stakeholders (as defined in the Restructuring Support
Agreement), to enter into the Restructuring Support Agreement, and to perform all the transactions
contemplated thereby, that in the judgment of the applicable Authorized Signatory, are necessary
or appropriate to effectuate and carry out the purposes and intent of the foregoing resolutions (such
determination to be conclusively evidenced by the taking of such action or execution thereof).

2. Chapter 11 Filing

        WHEREAS each Governing Body has considered certain materials presented by
Management and Advisors, including, but not limited to, materials regarding the liabilities and
obligations of the Companies, its liquidity, strategic alternatives available to it, and the effect of
the foregoing on the Companies’ business, and has had adequate opportunity to consult such
persons regarding the materials presented, obtain additional information, and to fully consider each
of the strategic alternatives available to the Companies; and

       WHEREAS each Governing Body has had the opportunity to consult with Management
and the Advisors and consider each of the strategic alternatives available to the Companies.

         NOW, THEREFORE, BE IT RESOLVED that in the judgment of each Governing
Body, it is desirable and in the best interests of each such Company, its creditors, and other parties
in interest, that the each such Company shall be, and hereby is, authorized to file, or cause to be
filed, a voluntary petition for relief (such voluntary petition, and the voluntary petitions to be filed
by each such Company’s affiliates, collectively, the “Chapter 11 Cases”) under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in a court of proper
jurisdiction (the “Bankruptcy Court”) and any other petition for relief or recognition or other order
that may be desirable under applicable law in the United States; and

        FURTHER RESOLVED that the Authorized Signatories, acting alone or with one or
more other Authorized Signatories of such Company be, and each of them hereby is authorized,
empowered, and directed to execute and file on behalf of each such Company all petitions,
schedules, lists, and other motions, objections, replies, applications, papers, or documents as
necessary or advisable to commence the Chapter 11 Cases and obtain chapter 11 relief, and to take
any and all action that they deem necessary or proper to obtain such relief, including, without
limitation, any action necessary to maintain the ordinary course operation of the each such
Company’s business.
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3. DIP Credit Agreement and Adequate Protection

         WHEREAS, reference is made to that certain Backstop Commitment Letter, dated on or
around the date hereof (as amended, restated, amended and restated, supplemented, extended or
otherwise modified from time to time, the “Backstop Commitment Letter”), among J. C. Penney
Corporation, Inc., a Delaware corporation (the “Borrower”) and the DIP Lenders identified therein
relating to a debtor-in-possession credit agreement referred to therein (together with all exhibits,
schedules, and annexes thereto, as amended, amended and restated, supplemented or otherwise
modified from time to time, the “DIP Credit Agreement”) to be entered into by and among, inter
alios, the Borrower, J. C. Penney Company, Inc., a Delaware corporation (“Holdings”), the lenders
party thereto from time to time (the “DIP Lenders”), and the administrative agent and collateral
agent for the lenders (in such capacities, the “Agent”);

        WHEREAS, the obligation of the DIP Lenders to make certain extensions of credit is
subject to the Borrower and each Guarantor (collectively, the “DIP Credit Parties”) having
satisfied certain conditions described in the Backstop Commitment Letter;

       WHEREAS, Management and the Advisors have negotiated the terms of the Backstop
Commitment Letter regarding the DIP Credit Agreement, the key terms of which have been
discussed with the each Governing Body; and

        WHEREAS, each Governing Body has determined that the transactions contemplated by
the Backstop Commitment Letter and the DIP Credit Agreement are in the best interest of each
such Company and that it is in the best interest of such DIP Credit Party to (i) execute and deliver
the Backstop Commitment Letter and the DIP Credit Agreement and any other document or
agreement to which it is contemplated to become a party pursuant to the Backstop Commitment
Letter, the DIP Credit Agreement and the other DIP Documents (as defined below) and (ii)
authorize the Authorized Signatories of the each such Company to take any and all actions as any
such Authorized Signatory may deem appropriate to effect the transactions contemplated by the
Backstop Commitment Letter, the DIP Credit Agreement and the DIP Documents.

        NOW, THEREFORE, BE IT RESOLVED, that in order to use and obtain the benefits
of (a) the DIP Credit Agreement and (b) the Cash Collateral (as defined in the Cash Collateral
Order), and in accordance with section 363 of the Bankruptcy Code, each Company will grant
certain liens and claims, and provide adequate protection to (x) the DIP Secured Parties to secure
the obligations of the DIP Credit Parties under the DIP Credit Agreement (collectively, the “DIP
Obligations”) as documented in a proposed Final DIP Order (as defined in the DIP Term Sheet)
and (y) the Prepetition Secured Parties (as defined in the Cash Collateral Order (as defined in the
DIP Term Sheet)) to secure the Prepetition Secured Obligations (as defined in the Cash Collateral
Order) as documented in the proposed Cash Collateral Order;

        FURTHER RESOLVED, that the form, terms and provisions of the Backstop
Commitment Letter, the DIP Credit Agreement, the DIP Order, the Cash Collateral Order and the
form, terms and provisions of each of the instruments and documents listed below to which each
such Company is or will be a party (or to which it shall otherwise be subject) (collectively with
the DIP Credit Agreement, the DIP Order, and the Cash Collateral Order, the “DIP Documents”),
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be, and hereby are, in all respects approved; and further resolved, that each such Company’s
performance of its DIP Obligations under the DIP Credit Agreement and the other DIP Documents,
including the borrowings thereunder, the guaranteeing of the obligations of the other DIP Credit
Parties and the grant of a security interest in the assets of each such Company be, and hereby are,
in all respects, approved; and further resolved, that each of the Authorized Signatories, acting alone
or with one or more other Authorized Signatories be, and hereby is, authorized and empowered to
execute and deliver (including by facsimile, electronic, or comparable method) the DIP Credit
Agreement each of the other DIP Documents to which it will be a party, and each of the instruments
and documents contemplated thereby, in the name and on behalf of each such Company, each on
behalf of itself or its subsidiaries, as applicable, under each Company’s corporate seal or otherwise,
with such changes therein as shall be approved by the Authorized Signatory executing the same,
with such execution by said Authorized Signatory to constitute conclusive evidence of his or her
approval of the terms thereof, including any departures therein from the form presented to the
Governing Body of each such Company:

       (a)     the DIP Credit Agreement;
       (b)     the DIP Pledge and Security Agreement; and
       (c)     such other documents, instruments, certificates, petitions, motions and other papers
               as may be reasonably requested by the Agent, required by the DIP Order or the
               Cash Collateral Order, or contemplated by the Backstop Commitment Letter, DIP
               Credit Agreement or any other DIP Document;

        FURTHER RESOLVED, that each such Company will obtain benefits from (a) the use
of collateral, including Cash Collateral, which is security for the Prepetition Secured Parties under
the Prepetition Credit Agreements (each as defined in the Cash Collateral Order), and (b) the
incurrence of debtor-in-possession financing obligations pursuant to the DIP Credit Agreement
and other DIP Documents or arising from each DIP Order, which are necessary and convenient to
the conduct, promotion and attainment of the business of each such Company;

       FURTHER RESOLVED, that in order to use and obtain the benefits of the (a) DIP
Financing and (b) Cash Collateral, and in accordance with section 363 of the Bankruptcy Code,
each Company will provide the Adequate Protection Obligations (as defined in the Cash Collateral
Order), as documented in proposed interim and final orders and submitted for approval to the
Bankruptcy Court;

        FURTHER RESOLVED, that each Company, as a debtor and a debtor in possession
under the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection
Obligations, and to undertake any and all related transactions on substantially the same terms as
contemplated under the DIP Documents (collectively, the “DIP Transactions”), including granting
liens on its assets to secure such obligations;

        FURTHER RESOLVED, that the granting of security interests by each such Company in
all property now or hereafter owned by each such Company as contemplated by the DIP Credit
Agreement, the DIP Order, the Cash Collateral Order, the other DIP Documents and any other
agreements, documents or filings that the Agent or any Prepetition Secured Party determines are
necessary, appropriate, or desirable pursuant to the terms of the DIP Documents be, and hereby
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are, in all respects, authorized and approved; and further resolved, that the Agent or any Prepetition
Secured Party is authorized to file or record financing statements and other filing or recording
documents or instruments with respect to the Collateral (as defined in the DIP Credit Agreement)
or the Adequate Protection Collateral (as defined in the Cash Collateral Order) without the
signature of each such Company in such form and in such offices as the Agent or any Prepetition
Secured Party determines appropriate; the Agent and each Prepetition Secured Party is authorized
to use the collateral description “all personal property of debtor” or “all assets of debtor” or any
similar description in any such financing statements;

        FURTHER RESOLVED, that each of the Authorized Signatories of each such Company
is authorized and empowered in the name of, and on behalf of, each such Company to file or to
authorize the Agent or any Prepetition Secured Party to file any Uniform Commercial Code (the
“UCC”) financing statements, any other equivalent filings, any intellectual property filings and
recordation and any necessary assignments for security or other documents in the name of each
such Company that the Agent or any Prepetition Secured Party deems necessary or appropriate to
perfect any lien or security interest granted under the DIP Order, or the Cash Collateral Order
including any such UCC financing statement containing a generic description of collateral, such
as “all assets,” “all property now or hereafter acquired” and other similar descriptions of like
import, and to execute and deliver, and to record or authorize the recording of, such mortgages and
deeds of trust in respect of real property of each such Company and such other filings in respect
of intellectual and other property of each such Company, in each case as the Agent or any
Prepetition Secured Party may reasonably request to perfect the security interests of the Agent or
any Prepetition Secured Party under the DIP Order or the Cash Collateral Order, as applicable;

        FURTHER RESOLVED, that the Authorized Signatories of each such Company, acting
alone or with one or more other Authorized Signatories, be, and each of them hereby is, authorized,
directed, and empowered in the name and on behalf of each such Company, as a debtor and a
debtor in possession, to guarantee the DIP Obligations and Adequate Protection Obligations under
the DIP Credit Agreement, the DIP Order, the Cash Collateral Order and the other DIP Documents
(as applicable) on behalf of itself or on behalf of its subsidiaries, as applicable, to assign, transfer,
pledge, and grant, or to continue to assign, transfer, pledge, and grant, to the Agent, for the ratable
benefit of the respective or applicable Secured Parties, a security interest in all or substantially all
the assets of each such Company, as collateral security for the prompt and complete payment and
performance when due of the DIP Obligations and Adequate Protection Obligations under the DIP
Credit Agreement, the DIP Order, the Cash Collateral Order, and the other DIP Documents (as
applicable) to which each such Company is a party (or otherwise subject) and to take or cause to
be taken any such actions as may be necessary, appropriate or desirable to cause each such
Company to create, perfect and maintain a security interest in its property or assets constituting
Collateral and/or Adequate Protection Collateral as described or contemplated in the applicable
DIP Documents;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized and empowered to take all such further actions including, without limitation, to pay all
fees and expenses in accordance with the terms of the DIP Documents, to arrange for and enter
into supplemental agreements, instruments, certificates, or documents relating to the transactions
contemplated by the DIP Credit Agreement, the DIP Order, the Cash Collateral Order or any of
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the DIP Documents and to execute and deliver all such supplemental agreements, instruments,
certificates, or documents in the name and on behalf of each such Company under its corporate
seal or otherwise, which shall in their sole judgment be necessary, proper, or advisable in order to
perform each such Company’s DIP Obligations and/or Adequate Protection Obligations under or
in connection with the DIP Credit Agreement, the DIP Order, the Cash Collateral Order or any of
the DIP Documents (as applicable) and the transactions contemplated therein, and to carry out
fully the intent of the foregoing resolutions, in such form and with such terms as shall be approved
by the Authorized Signatory executing the same, with such execution by said Authorized Signatory
to constitute conclusive evidence of his or her approval of the terms thereof;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized and empowered to execute and deliver any amendments, amendment and restatements,
supplements, modifications, renewals, replacements, consolidations, substitutions, and extensions
of the DIP Credit Agreement, the DIP Order, the Cash Collateral Order, or any of the DIP
Documents that shall, in their sole judgment, be necessary, proper, or advisable, in such form and
with such terms as shall be approved by the Authorized Signatory executing the same, with such
execution by said Authorized Signatory to constitute conclusive evidence of his or her approval of
the terms thereof;

        FURTHER RESOLVED, that for all transactions authorized above, the Authorized
Signatories are authorized to open an account or accounts with such third parties as they deem
necessary or desirable for the purpose of engaging in such transactions, and the other party to such
transactions is authorized to act upon any verbal or written orders and instructions from the
Authorized Signatories in connection with such accounts and transactions;

        FURTHER RESOLVED, that each of the Authorized Signatories of each such Company
be, and hereby is, authorized and empowered to take all actions or to not take any action in the
name of each such Company with respect to the transactions contemplated by these resolutions as
the sole shareholder, partner, general partner, sole member, member, managing member, sole
manager, manager, or director of each applicable subsidiary of each such Company, if any, whether
existing now or in the future, in each case, as such Authorized Signatory shall deem necessary or
desirable, including, without limitation, the authorization of resolutions and agreements necessary
to authorize the execution, delivery, and performance pursuant to the DIP Documents (including,
without limitation, certificates, affidavits, financing statements, notices, reaffirmations, and
amendments and restatements thereof or relating thereto) as may be necessary, appropriate, or
convenient to effectuate the purposes of the transactions contemplated herein; the performance of
any such further act or thing and the execution of any such document or instrument by any of the
Authorized Signatories of each such Company pursuant to these resolutions shall be conclusive
evidence that the same have been authorized and approved by each such Company in every respect;

        FURTHER RESOLVED, that all acts and actions taken by the Authorized Signatories
prior to the date hereof with respect to the transactions contemplated by the DIP Credit Agreement,
the DIP Order, the Cash Collateral Order or any of the DIP Documents be, and hereby are, in all
respects confirmed, approved, and ratified;
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        FURTHER RESOLVED, that the signature of any Authorized Signatory of each such
Company shall be conclusive evidence of the authority of such Authorized Signatory to execute
and deliver the documents to which each such Company is a party; the authority granted herein
shall apply with equal force and effect to any successors-in-office of the Authorized Signatories
herein identified; and

        FURTHER RESOLVED, that all capitalized terms used in the resolutions in this section
entitled “DIP Credit Agreement and Adequate Protection” and not otherwise defined herein
shall have the meanings ascribed to such terms in the Backstop Commitment Letter, the DIP Term
Sheet (as defined in the Backstop Commitment Letter), the DIP Credit Agreement, the DIP Order,
or the Cash Collateral Order, as applicable.


4. Retention of Professionals

        NOW, THEREFORE, BE IT RESOLVED that each of the Authorized Signatories be,
and they hereby are, authorized and directed to employ the following professionals on behalf of
each such Company: (i) the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International
LLP, as general bankruptcy counsel, (ii) the law firm of Jackson Walker L.L.P., as co-bankruptcy
counsel, (iii) Lazard Frères & Co. LLC, as financial advisor, (iv) AlixPartners, LLP, as
restructuring advisor, (v) Prime Clerk LLC, as notice and claims agent, (vi) KPMG LLP, as tax
restructuring advisor, (vii) Gordon Brothers Retail Partners, LLC, as store closing consultant, (viii)
B. Riley Real Estate, LLC and Cushman & Wakefield U.S., Inc., as co-real estate consultants, and
(ix) any other legal counsels, accountants, financial advisors, restructuring advisors or other
professionals the Authorized Signatories deem necessary, appropriate or advisable; each to
represent and assist each such Company in carrying out its duties and responsibilities and
exercising its rights under the Bankruptcy Code and applicable law (including, but not limited to,
the law firms filing any pleadings and responses); and in connection therewith, each of the
Authorized Signatories be, and hereby is authorized, empowered and directed, in accordance with
the terms and conditions hereof, to execute appropriate retention agreements and to cause to be
filed appropriate applications for authority to reach such services.

        FURTHER RESOLVED, that all acts and deeds previously performed by any of the officers
of the Authorized Signatories, as may be applicable, prior to the adoption of the foregoing recitals
and resolutions that are within the authority conferred by the foregoing recitals and resolutions, are
hereby ratified, confirmed and approved in all respects as the authorized acts and deeds of the
Authorized Signatories, as the case may be.

5. General

        NOW, THEREFORE, BE IT RESOLVED, that in addition to the specific authorizations
heretofore conferred upon the Authorized Signatories, each of the Authorized Signatories (and their
designees and delegates) be, and they hereby are, authorized and empowered, in the name of and on
behalf of each such Company, to take or cause to be taken any and all such other and further action
to: execute, acknowledge, deliver, and file any and all such agreements, certificates, instruments, and
other documents; and pay all expenses, including but not limited to filing fees, in each case as in such
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officer’s or officers’ judgment, shall be necessary, advisable, or desirable to fully carry out the intent
and accomplish the purposes of the resolutions adopted herein;

        FURTHER RESOLVED, that each Governing Body has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may be
required by the organizational documents of each such Company, or hereby waive any right to have
received such notice;

        FURTHER RESOLVED, that all acts, actions and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of each such Company,
which acts would have been approved by the foregoing resolutions except that such acts were taken
before the adoption of these resolutions, are hereby in all respects approved and ratified as the true
acts and deeds of each such Company with the same force and effect as if each such act, transaction,
agreement or certificate has been specifically authorized in advance by resolution of each such
Governing Body; and

        FURTHER RESOLVED, that each of the Authorized Signatories (and their designees and
delegates) be and hereby is authorized and empowered to take all actions or to not take any action in
the name of each such Company with respect to the transactions contemplated by these resolutions
hereunder, as such Authorized Signatory shall deem necessary or desirable in such Authorized
Signatory’s reasonable judgment as may be necessary or convenient to effectuate the purposes of the
transactions contemplated herein.

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                    JCP REALTY, LLC


                    By:
                    Name: Bradle
                           Bradley
                               lleey Syverson
                                 ey Syverso
                    Title: 0DQDJHU




                           SIGNATURE PAGE TO
                          OMNIBUS RESOLUTION
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                    JCP NEW JERSEY, LLC


                    By:
                    Name: Brad
                           Bradley
                              dle  Syverson
                               ley Syvers
                    Title: 0DQDJHU




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                         OMNIBUS RESOLUTION
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                    J.C. PENNEY
                            NNEY DIRECT MARKE
                                        MARKETING
                                           KE
                                            E     SERVICES LLC


                    By:
                    Name: Hani Eideh
                    Title: Manager




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                         OMNIBUS RESOLUTION
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                    JCP CONSTRUCTION SERVICES, INC.


                    By:
                    Name: Brad
                           Bradley
                              dle
                               ley Syver
                                    Syverson
                    Title: Director




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                         OMNIBUS RESOLUTION
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                    JCP PROCUREMENT,, INC.


                    By:
                    Name: J. A. Hairford
                    Title: Director


                    By:
                    Name: Steve Wysong
                    Title: Director




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                         OMNIBUS RESOLUTION
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                    JCP PROCUREMENT, INC.


                    By:
                    Name: J. A. Hairford
                    Title: Director


                    By:
                    Name: Steve Wysong
                    Title: Director




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                         OMNIBUS RESOLUTION
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                    FUTURE SOURCELLC


                    By:
                    Name: TTruett
                               tt H
                                  Horne
                    Title: Manager


                    By:
                    Name: John Sena
                    Title: Manager




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                         OMNIBUS RESOLUTION
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                    JCPENNEY PUERTO RICO, INC.


                    By:
                    Name: Brad
                           Bradley
                              dle
                               ley Syver
                                    Syverson
                    Title: Director




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                         OMNIBUS RESOLUTION
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                                           ANNEX I

JCPenney Services, LLC, a Delaware limited liability company

JCP Realty, LLC, a Delaware limited liability company

JCP New Jersey, LLC, a Delaware limited liability company

jcpSSC, Inc., a Delaware corporation

J. C. Penney Direct Marketing Services LLC, a Delaware limited liability company

JCP Construction Services, Inc., a Delaware corporation

JCP Procurement, Inc., a Delaware corporation

J. C. Penney Export Merchandising Corporation, a Delaware corporation

J. C. Penney International, Inc., a Delaware corporation

JCP Media, Inc., a Delaware corporation

JCP Telecom Systems, Inc., a Delaware corporation

Future Source LLC, a New York limited liability company

JCPenney Puerto Rico, Inc., a Puerto Rico corporation
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    Fill in this information to identify the case and this filing:

   Debtor Name          JCPenney Puerto Rico, Inc.

   United States Bankruptcy Court for the:                Southern District of Texas

                                                                                             (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                      List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Bill Wafford
                                       05/15/2020
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Bill Wafford
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
